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                   FREEMAN LAW FIRM, INC.

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                                     August 5, 2020


Via E-mail to:
newcases.tacoma@wawd.uscourts.gov

Clerk of the Court
United States District Court
Western District of Washington
1717 Pacific Avenue
Tacoma, Washington 98402

       Re:     Request for DMCA Subpoena to Cloudflare, Inc. (tapecontent.net)

Dear Clerk of the Court:

       Petitioner MG Premium Ltd (“MG”), through its undersigned counsel of record,
hereby respectfully requests that the Clerk of this Court issue a Subpoena pursuant to 17
U.S.C. § 512(h) to service provider Cloudflare, Inc. to identify alleged infringers of MG’s
copyrighted material.

        MG is the owner of numerous copyrighted audiovisual works. In the course of
protecting its works, MG has determined that infringing copies of these works, posted at
the direction of individual users and without authorization from MG, appear on
Cloudflare, Inc.’s website “tapecontent.net.” Such infringements have been ongoing and
MG has issued DMCA notifications to Cloudflare, Inc.’s DMCA Agent. All notifications
have met the requirements of 17 U.S.C. § 512(c)(3)(A) by setting forth, inter alia, a
representative list of the copyrighted works that have been infringed and the
identification and location on Cloudflare, Inc.’s website of the infringing material. MG
now seeks to obtain a DMCA Subpoena to learn the identity of the individuals who are
posting the infringing content.

        In order to fully comply with 17 U.S.C. 512(h) DMCA Subpoena requirements,
the following items are submitted concurrently with this letter request:

               •       Copies of notifications sent to Cloudflare, Inc.’s DMCA Agent
               (attached as Exhibit A to the Declaration of MG’s Director, Anis Baba,
               and Exhibit B to the DMCA Subpoena);

               •      DMCA Subpoena (proposed); and,
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                •       Sworn Declaration of Anis Baba, Director of MG, confirming that
                the purpose of the DMCA Subpoena is to obtain the identity of the alleged
                infringers for the single purpose of protecting MG’s rights under Title 17
                of the United States Code.

        With all conditions for issuance of the DMCA Subpoena having been met, MG
therefore petitions the Clerk to issue and sign, in accordance with 17 U.S.C. § 512(h)(4),
the proposed DMCA Subpoena, and return it to the undersigned requester for delivery to
the service provider, Cloudflare, Inc.

                                          Regards,

                                          s/ Spencer D. Freeman
                                          Spencer D. Freeman

SDF:sl
Attachments:
       Proposed DMCA Subpoena
       Sworn Declaration
       Notification of Claimed Infringements
         (attached to Subpoena and Declaration)
